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 1                                UNITED STATES DISTRICT COURT
 2                              EASTERN DISTRICT OF CALIFORNIA
 3

 4   HOLLISTER GEORGE,                                   CASE NO. 1:08-CV-132 AWI MJS (HC)
 5                          Petitioner
                                                         ORDER TO ADMINISTRATIVELY
 6                  v.                                   CLOSE CASE
 7   W.J. SULLIVAN,
 8                          Respondent
 9

10          This action was brought by Petitioner under 28 U.S.C. § 2254. Petitioner challenged the
11   California Parole Board’s decision to deny parole. This Court held that “some evidence” did not
12   support the Board’s decision. Respondent appealed. After Respondent appealed, the United
13   States Supreme Court decided Swarthout v. Cooke, 131 S. Ct. 859 (2011). On appeal, the Ninth
14   Circuit in a series of three opinions followed Swarthout, found that due process as described by
15   Swarthout had been followed, and reversed and vacated this Court’s prior orders. See Doc. Nos.
16   76, 77, 78. That is, the Ninth Circuit followed Swarthout and denied Petitioner relief. Following
17   the Ninth Circuit’s first order, the Clerk administratively reopened this case on April 20, 2011.
18   The Ninth Circuit’s mandate issued on November 18, 2011. See Doc. No. 79.
19          There have been no filings or activities of any kind in this case since November 2011.
20   However, the case remains administratively opened. Given the Ninth Circuit’s resolution of this
21   matter, this case has concluded. The Court will correct the docket for administrative purposes.
22          Accordingly, IT IS HEREBY ORDERED that the Clerk shall administratively CLOSE this
23   case in light of the Ninth Circuit’s disposition. See Doc. Nos. 76, 77, 78, 79.
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     IT IS SO ORDERED.
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26   Dated: March 10, 2015
                                                 SENIOR DISTRICT JUDGE
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